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From: Jeff Keeler Jeff@daws-trucking.com>
Sent: Wednesday, September 25, 2024 7:22 AM
To: Jim Daws <jim@daws-trucking.com>
Subject: Fw: Hello there.

Rick sent this at 2:38 this morning. | will be back around 915-ish

From: Rick Fernandez <RickF@rdtintermodal.com>

Sent: Wednesday, September 25, 2024 2:38 AM

To: Dennis Broadwell <dennis@daws-trucking.com>; Bill Molthan <billm@daws-trucking.com>; Jeff
Keeler <Jeff@daws-trucking.com>; Ranae Muencrath <ranae@daws-trucking.com>

Cc: Ricky Fernandez <r.d.fernandez2@gmail.com>

Subject: Hello there.

I hope there's a way I can convince all of you to stay and give us another opportunity to
share our side of the situation and have a full understanding of how this all developed.

Frankly we just want a chance to restart Jim Daws Trucking it doesn't matter how big or
how small or where it's located.

I wanted you all know that we weren't allowed to interfere with anyone or contact anyone
at Daws since day one.

We were not allowed to make any decisions until Jim was ready to retire in 2 years .
It was only toward last year and the beginning of this year when we wanted our people
more involved that we started having problems.

I have attached the email below just as one example but there were others like this. please
understand that any time we tried to find out information we were shut down. Now you all
should know the truth and I hope you share it and realize that things are not as they seem.

I can move the office to another location. We still own All the equipment and all the
flatbeds and a good amount of trucks so hopefully we can convince our company drivers
and some the owner operators to stay

They rest of folks have to realize that Jim has a NO Compete and it will be inforced to its
full extent any other operation he owns or is associated with will be affected . Things will
get messy and this will drag out in the courts for a while just please know this. We didn't
asked for this.

Jim asked me to buy the company in 2018 because he told me he wanted to retire.

And I had to him make some adjustments it took him 3 years for him to get there and we
started talking again in 2021.

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We were not strangers to each other there was a plan. He told me again he just wanted to
drive and hang around for a while and that you all ran the day to day operations and all
that would be needed was some over sight and guidance.

It's not fair to give a someone 10 milion dollars And watch him try to take everything back.
Just not right. !!!
Give it some thought please.

Here's my cell 708-267-2307 please give it some thought or if there's any other questions
you have. I'm in town for a while I have meetings this morning hope to hear from you.

Thanks
Rick

Here's is his Email ..truth is he was paid
He just wants more.

From: Jim Daws [mailto:jim@daws-
trucking.com]

Sent: Monday, April 1,2024 9:51 AM
To: Rick Fernandez; '
(r.d.fernandez2@gmail.com)'
Subject:

Good morning,
Here are a few things I'm thinking about;

| was told by you and Ricky to run the company
total control. | was also told that Ricky would
have a bigger role in learning the business.

So, in regards to Chuck, | think | should have
been in the loop before you hired Chuck. We
talked earlier last week about Chuck coming out
here so we could get a feel on his abilities to
help Daws. | asked for Chuck's resume or an
application so | could start my process on
vetting him but I've never seen anything. The
people he was naming were mostly brokers
except for Heidtman Steel

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Sent via the Samsung Galaxy $21+ 5G, an AT&T 5G smartphone

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